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              Affidavits of Service of the Bar Date Order Pg 1 of 12



                                   EXHIBIT 2

                    Affidavits of Service of the Bar Date Order




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                             EXHIBIT A
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MORRISON & FOERSTER LLP
1290 Avenue of the Americas
New York, New York 10104
Telephone:   (212) 468-8000
Facsimile:   (212) 468-7900
Gary S. Lee
Lorenzo Marinuzzi

Counsel for the Debtors and
Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                )
 In re:                                         )      Case No. 12-12020 (MG)
                                                )
 RESIDENTIAL CAPITAL, LLC, et al.,              )      Chapter 11
                                                )
                                  Debtors.      )      Jointly Administered
                                                )

               NOTICE OF DEADLINES FOR FILING PROOFS OF CLAIM
TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST RESIDENTIAL CAPITAL, LLC OR ITS AFFILIATED ENTITIES THAT
ARE ALSO DEBTORS AND DEBTORS IN POSSESSION:

  On August 29, 2012, the United States Bankruptcy Court for the Southern District of New
York (the U.S. Bankruptcy Court”) entered an order (the “Bar Date Order”) establishing
November 9, 2012 at 5:00 p.m. (Prevailing Eastern Time) (the “General Bar Date”) as the last
date and time for each person or entity (including individuals, partnerships, corporations, joint
ventures, corporations, estates, trusts, and governmental units) to file a proof of claim against
Residential Capital, LLC its affiliates that are also debtors and debtors in possession in those
proceedings (collectively, the “Debtors”). Solely as to governmental units the Bar Date Order
established November 30, 2012 at 5:00 p.m. (Prevailing Eastern Time) as the last date and
time for each such governmental unit to file a proof of claim against the Debtors (the
“Governmental Bar Date,” and, together with the General Bar Date, the “Bar Dates”).
  The Bar Dates and the procedures set forth below for filing proofs of claim apply to all claims
against the Debtors that arose before May 14, 2012, the date on which the Debtors commenced
cases under Chapter 11 of the United States Bankruptcy Code (the “Petition Date”), except for
those holders of the claims listed in section 4 below that are specifically excluded from the
General Bar Date filing requirement.
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1.     WHO MUST FILE A PROOF OF CLAIM

   You MUST file a proof of claim to vote on a Chapter 11 plan filed by the Debtors or to share
in distributions from the Debtors’ bankruptcy estates if you have a claim that arose before the
filing of the Debtors’ Chapter 11 petitions on the Petition Date and it is not one of the types of
claims described in section 4 below. Claims based on acts or omissions of the Debtors that
occurred before the Petition Date must be filed on or before the applicable Bar Date, even if such
claims are not now fixed, liquidated or certain or did not mature or become fixed, liquidated or
certain before the Petition Date.
  Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word “claim”
means: (a) a right to payment, whether or not such right is reduced to judgment, liquidated,
unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable,
secured, or unsecured; or (b) a right to an equitable remedy for breach of performance if such
breach gives rise to a right to payment, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.


2.     WHAT TO FILE

  Each filed proof of claim must conform substantially to the Proof of Claim Form (as defined in
the Bar Date Order). Copies of the Proof of Claim Form may be obtained at
http://www.kccllc.net/rescap. Each proof of claim must be signed by the claimant or by an
authorized agent of the claimant. Each proof of claim must be written in English and be
denominated in United States currency. You should attach to each completed proof of claim any
documents on which the claim is based (if voluminous, attach a summary) or an explanation as
to why the documents are not available.
  Any holder of a claim against more than one Debtor must file a separate proof of claim with
respect to each such Debtor and all holders of claims must identify on their proof of claim the
specific Debtor against which their claim is asserted. A list of the names of the Debtors and their
respective case numbers is attached to the Proof of Claim Form.
  Under the Bar Date Order, the filing of a Proof of Claim Form shall be deemed to satisfy the
procedural requirements for the assertion of administrative priority claims under section
503(b)(9) of the Bankruptcy Code.




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3.     WHEN AND WHERE TO FILE

  Except as provided for herein, all proofs of claim must be filed so as to be actually received on
or before November 9, 2012 at 5:00 p.m. (Prevailing Eastern Time), or solely as to
governmental units on or before November 30, 2012 at 5:00 p.m. (Prevailing Eastern
Time), at:
                                (i) If by mail or overnight courier:
                           ResCap Claims Processing Center c/o KCC
                                      2335 Alaska Ave
                                   El Segundo, CA 90245
                                     (ii) if by hand delivery:

             United States Bankruptcy Court for the Southern District of New York
                               One Bowling Green, Room 534
                                 New York, New York 10004

                                                or

                           ResCap Claims Processing Center c/o KCC
                                      2335 Alaska Ave
                                   El Segundo, CA 90245
  Proofs of claim will be deemed timely filed only if actually received at the ResCap Claims
Processing Center or hand delivered to the U.S. Bankruptcy Court on or before 5:00 p.m.
(Prevailing Eastern Time) on the applicable Bar Date. Proofs of claim may not be delivered by
facsimile, or electronic mail.


4.     WHO NEED NOT FILE A PROOF OF CLAIM

       You do not need to file a proof of claim on or before the General Bar Date if you are:

       (a)     Any person or entity that has already properly filed a proof of claim against the
               applicable Debtor or Debtors with the Clerk of the Bankruptcy Court for the
               Southern District of New York in a form substantially similar to the Proof of
               Claim Form;

       (b)     Any person or entity whose claim is listed on the Debtors’ schedules of assets and
               liabilities and/or schedules of executory contracts and unexpired leases
               (collectively, the “Schedules”), provided that: (i) the claim is not scheduled as
               “disputed,” “contingent” or “unliquidated”; and (ii) the claimant agrees with the
               amount, nature and priority of the claim as set forth in the Schedules; and (iii) the
               claimant agrees that the claim is an obligation of the specific Debtor against
               which the claim is listed on the Schedules;

       (c)     Any person or entity that holds a claim that has been allowed by an order of the
               Court entered on or before the applicable Bar Date;



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         (d)      Any person or entity whose claim has been paid in full by any of the Debtors;

         (e)      Any person or entity that holds a claim for which specific deadlines have been
                  fixed by an order of the Court entered on or before the applicable Bar Date;

         (f)      Any person or entity that holds a claim allowable under sections 503(b) and
                  507(a) of the Bankruptcy Code as an expense of administration (other than any
                  claim allowable under section 503(b)(9) of the Bankruptcy Code);

         (g)      Any Debtor having a claim against another Debtor or any of the non-debtor
                  subsidiaries of Residential Capital, LLC having a claim against any of the
                  Debtors;

         (h)      Any person or entity that holds an interest in any of the Debtors, which interest is
                  based exclusively upon the ownership of common stock, membership interests,
                  partnership interests, or warrants or rights to purchase, sell or subscribe to such a
                  security or interest; provided, however, that interest holders that wish to assert
                  claims (as opposed to ownership interests) against any of the Debtors that arise
                  out of or relate to the ownership or purchase of an interest, including claims
                  arising out of or relating to the sale, issuance, or distribution of the interest, must
                  file Proofs of Claim on or before the applicable Bar Date, unless another
                  exception identified herein applies;

         (i)      Any person or entity whose claim is limited exclusively to the repayment of
                  principal, interest, and/or other applicable fees and charges (a “Debt Claim”) on
                  or under any bond or note issued or guaranteed by the Debtors pursuant to an
                  indenture (the “Debt Instruments”); provided, however, that (i) the foregoing
                  exclusion in this subparagraph shall not apply to the Indenture Trustee under the
                  applicable Debt Instruments (an “Indenture Trustee”), (ii) the Indenture Trustee
                  shall be required to file one Proof of Claim, on or before the General Bar Date,
                  with respect to all of the Debt Claims on or under each of the applicable Debt
                  Instruments, and (iii) any holder of a Debt Claim wishing to assert a claim, other
                  than a Debt Claim, arising out of or relating to a Debt Instrument shall be required
                  to file a Proof of Claim on or before the Bar Date, unless another exception in this
                  paragraph applies;

         (j)      Any person or entity holding a claim for principal, interest and other fees and
                  expenses under the Debtors’ secured financing facilities (the “Financing
                  Facilities”)1 to the extent of, and only for such claims relating to the Financing
                  Facilities; or

         (k)      Any person or entity that holds a claim against a securitization trust (each a
                  “Trust”) that is based exclusively upon the ownership of a note, bond and/or
                  certificate backed by mortgage loans held by the Trust; provided, however, that

1
 “Financing Facilities” as used herein shall mean the Debtors’ financing facilities that are exempt from filing a
Proof of Claim Form as previously ordered by the Court [Docket Nos. 471, 490 and 491].




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               holders of such notes, bonds and/or certificates that wish to assert claims against
               the Debtors (as opposed to claims against the applicable Trust) must file Proofs of
               Claim on or before the applicable Bar Date, unless another exception identified
               herein applies.

  This Notice is being sent to many persons and entities that have had some relationship with or
have done business with the Debtors but may not have an unpaid claim against the Debtors.
Receipt of this Notice does not mean that you have a claim or that the Debtors or the Court
believe that you have a claim against the Debtors.


5.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  If you have a claim arising out of the rejection of an executory contract or unexpired lease, you
must file a proof of claim by the later of (a) the applicable Bar Date and (b) thirty (30) days after
the date of entry of an order of rejection (unless the order of rejection provides otherwise).


6.     CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR
       DATE

  ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE
REQUIREMENTS OF THE BAR DATE ORDER, AS DESCRIBED IN SECTION 4
ABOVE, AND THAT FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE
APPROPRIATE FORM WILL BE FOREVER BARRED, ESTOPPED AND ENJOINED
FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS, THEIR SUCCESSORS,
THEIR CHAPTER 11 ESTATES AND THEIR RESPECTIVE PROPERTY OR FILING
A PROOF OF CLAIM WITH RESPECT TO SUCH CLAIM, FROM VOTING ON ANY
PLAN OF REORGANIZATION FILED IN THESE CASES AND FROM
PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTORS’ CASES ON
ACCOUNT OF SUCH CLAIM OR RECEIVING FURTHER NOTICES REGARDING
SUCH CLAIM.


7.     THE DEBTORS’ SCHEDULES AND ACCESS THERETO

  You may be listed as the holder of a claim against one or more of the Debtors in the Debtors’
Schedules. If you rely on the Debtors’ Schedules, it is your responsibility to determine that your
claim is accurately listed on the Schedules. If you agree with the nature, amount and status of
your claim as listed on the Debtors’ Schedules, and if you do not dispute that your claim is
against only the specified Debtor, and if your claim is not described as “disputed,” “contingent,”
or “unliquidated,” you need not file a proof of claim. Otherwise, or if you decide to file a proof
of claim, you must do so before the applicable Bar Date in accordance with the procedures set
forth in this Notice.
  Copies of the Debtors’ Schedules are available for inspection on the Court’s internet website at
www.nysb.uscourts.gov and on the independent website maintained by the Debtors,
http://www.kccllc.net/rescap. A login and password to the Court’s Public Access to Electronic




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Court Records (“PACER”) are required to access www.nysb.uscourts.gov and can be obtained
through the PACER Service Center at www.pacer.psc.uscourts.gov. Copies of the Schedules
may also be examined between the hours of 9:00 a.m. and 4:30 p.m. (Prevailing Eastern Time),
Monday through Friday, at the Office of the Clerk of the Bankruptcy Court, One Bowling Green,
Room 511, New York, New York 10004-1408.
  Copies of the Debtors’ Schedules may also be obtained by written request to the Debtors’
claims agent at the address set forth below:
                              ResCap Claims Processing Center
                                         c/o KCC
                                     2335 Alaska Ave
                                  El Segundo, CA 90245


8.      RESERVATION OF RIGHTS

  The Debtors reserve their right to object to any proof of claim, whether filed or scheduled, on
any grounds. The Debtors reserve their right to dispute or to assert offsets or defenses to any
claim reflected on the Schedules or any amendments thereto, as to amount, liability,
classification or otherwise, and to subsequently designate any claim as disputed, contingent,
unliquidated or undetermined.
  A holder of a possible claim against the Debtors should consult an attorney regarding
matters in connection with this Notice, such as whether the holder should file a Proof of
Claim.

Dated: New York, New York
      August 29, 2012
                                             BY ORDER OF THE COURT

                                             Gary S. Lee
                                             Lorenzo Marinuzzi
                                             MORRISON & FOERSTER LLP
                                             1290 Avenue of the Americas
                                             New York, New York 10104

                                             Counsel for the Debtors and
                                             Debtors in Possession




     If you have any questions related to this notice, please call (888) 251-2914




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               Affidavits of Service of the Bar Date
                                          Pg 1 of 45 Order   Pg 10 of 12



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------x
                                                                                 :
 In re                                                                           :          Chapter 11
                                                                                 :
 RESIDENTIAL CAPITAL, LLC, et al., 1                                             :          Case No. 12-12020 (MG)
                                                                                 :
                                                                                 :
                                                                                 :          (Jointly Administered)
                     Debtors.                                                    :
 ---------------------------------------------------------------x


                                                      AFFIDAVIT OF SERVICE

     I, Clarissa D. Cu, depose and say that I am employed by Kurtzman Carson Consultants LLC (KCC),
 the claims and noticing agent for the Debtors.

 A. On or before September 7, 2012, at my direction and under my supervision, employees of KCC
    caused the following documents to be served via First Class mail upon the Monthly Service List
    attached hereto as Exhibit A, upon the Claimants and Notice Parties attached hereto as Exhibit B,
    upon the parties attached hereto as Exhibit C, via Overnight mail on service list attached hereto as
    Exhibit D for subsequent distribution to beneficial holders of the securities listed on the attached
    Exhibit E, and via Electronic mail upon the parties attached hereto as Exhibit F:

      1. Notice of Deadlines for Filing Proofs of Claim, dated August 29, 2012, attached hereto as
         Exhibit G

      2. Proof of Claim Form attached here to as Exhibit H



                                                        (This space intentionally left blank)



 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Residential Capital,
 LLC (0738); ditech, LLC (7228); DOA Holding Properties, LLC (4257); DOA Properties IX (Lots-Other), LLC (3274), EPRE LLC (7974);
 Equity Investment I, LLC (2797); ETS of Virginia, Inc. (1445); ETS of Washington, Inc. (0665); Executive Trustee Services, LLC (8943);
 GMAC Model Home Finance I, LLC (8469); GMAC Mortgage USA Corporation (6930); GMAC Mortgage, LLC (4840); GMAC Residential
 Holding Company, LLC (2190); GMAC RH Settlement Services, LLC (6156); GMACM Borrower LLC (4887); GMACM REO LLC (2043);
 GMACR Mortgage Products, LLC (6369); GMAC-RFC Holding Company, LLC (3763); HFN REO Sub II, LLC (N/A); Home Connects
 Lending Services, LLC (9412); Homecomings Financial Real Estate Holdings, LLC (6869); Homecomings Financial, LLC (9458); Ladue
 Associates, Inc. (3048); Passive Asset Transactions, LLC (4130); PATI A, LLC (2729); PATI B, LLC (2937); PATI Real Estate Holdings, LLC
 (5201); RAHI A, LLC (3321); RAHI B, LLC (3553); RAHI Real Estate Holdings, LLC (5287); RCSFJV204, LLC (2722); Residential Accredit
 Loans, Inc. (8240); Residential Asset Mortgage Products, Inc. (5181); Residential Asset Securities Corporation (2653); Residential Consumer
 Services of Alabama, LLC (5449); Residential Consumer Services of Ohio, LLC (4796); Residential Consumer Services of Texas, LLC (0515);
 Residential Consumer Services, LLC (2167); Residential Funding Company, LLC (1336); Residential Funding Mortgage Exchange, LLC (4247);
 Residential Funding Mortgage Securities I, Inc. (6294); Residential Funding Mortgage Securities II, Inc. (8858); Residential Funding Real Estate
 Holdings, LLC (6505); Residential Mortgage Real Estate Holdings, LLC (7180); RFC Asset Holdings II, LLC (4034); RFC Asset Management,
 LLC (4678); RFC Borrower LLC (5558); RFC Constructing Funding, LLC (5730); RFC REO LLC (2407); RFC SFJV-2002, LLC (4670); RFC-
 GSAP Servicer Advance, LLC (0289)



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                                                                                     I
                                                                             220 of 999   Order   Pg 12 of 12


            CreditorName           CreditorNoticeName         Address1                     Address2         Address3          City            State       Zip      Country

  CONSUELA ALCOCER THIRIEZ                              PO BOX 149                                                     BEVERLY HILLS CA               90213

  CONSUELA MCNALLY                                      13229 7TH PL                                                   YUCAIPA           CA           92399-2316

  CONSUELO AND                                          10644 N 47TH AVE       RENE VON PUTLITZ                        GLENDALE          AZ           85304
                                                        14113 Dartmouth
  Consuelo Andres                                       Court                                                          Fontana           CA           92336
                                                                                                                       WEST NEW
  CONSUELO DELGADO                                      RACIEL DELGADO         6508 BROANDWAY RD #E2                   YORK              NJ           07093
                                                        3049 NW 61ST
  CONSUELO SANCHEZ                                      STREET                                                         BOCA RATON        FL           33496
                                  RUSSEL ROBINSON,
                                  AN INDIVIDUAL,
                                  PLAINTIFFS, V GMAC
                                  MRTG, LLC MRTG
                                  ELECTRONIC
                                  REGISTRATION SYS
                                  INC GREENPOINT     450 N. Brand Blvd.,
  Consumer Action Law Group       MRTG, ET AL        Suite 600                                                         Glendale          CA           91203
  CONSUMER ACTION LAW                                450 N BRAND BLVD
  GROUP PC                                           STE 600                                                           GLENDALE          CA           91203
                                                     8700 MONROVIA ST
  CONSUMER ADVOCATE LLC                              STE 310                                                           LENEXA            KS           66215
                                                     ONE SOUTH
  CONSUMER AFFAIRS AND                               STATION, 3RD
  BUSINESS REGULATION                                FLOOR                                                             BOSTON            MA           02110
  CONSUMER BANKRUPTCY
  ASSISTANCE P                                          1424 CHESTNUT ST                                               PHILADELPHIA      PA           19102
  CONSUMER BANKRUPTCY
  ASSISTANCE P                                          42 S 15TH ST FL 4                                              PHILADELPHIA      PA           19102
                                                        c/o Merrell, Eddie J &
  CONSUMER COLLECTION                                   Merrell, Julie         1157 Lilac Dr                           Sullivan          MO           63080-2352

  CONSUMER COLLECTION                                   PO Box 1839                                                    Maryland Heights MO            63043-
  CONSUMER CREDIT
  COMMISSIONER                                          SUTE 300               700 S.W. JACKSON                        TOPEKA            KS           66603-3796
  CONSUMER CREDIT                                       35 STATE HOUSE
  REGULATION                                            STATION                                                        AUGUSTA           ME           04333-0035
  Consumer Data Industry                                1090 Vermont Ave
  Association                                           NW Ste 200                                                     Washington        DC           20005
  Consumer Data Industry                                1090 Vermont
  Association                                           Avenue, N.W.           Suite 200                               Washington        DC           20005
                                                        1205 PENDIETON
  CONSUMER FINANCE DIVISION                             STREET, SUITE 306                                              COLUMBIA          SC           29201
                                                        1205 PENDLETON
  CONSUMER FINANCE DIVISION                             ST                                                             COLUMBIA          SC           29201-3756

In re Residential Capital, LLC,
Case No. 12-12020 (MG)                                                                 Page 2220 of 11969                                                              9/10/2012
